Michael Marom
Name

5448 Apex Peakway #206                                                        JJHB JU!·~ 20 AH 9: 19
Address

Apex, NC, 27502                                                                                  FILED
City, State, Zip
                                                                                               JUN 2 2 2018
516.608.8464
Phone

Michael marom@yahoo.com                                                                   BY
                                                                                            US 01s71:
                                                                                           PETER A. MOORE. JR., CLERK
                                                                                                     ~
                                                                                                       CO~DNC  OEPCLK
Email


I am the [x] Defendant
         [ ] Attorney for the Defendant


                        In the North Carolina District Court • Eastren District of North Carolina




THE STATE OF NEW YORK COUNTY OF                             NOTICE OF REMOVAL OF ACTION
WESTCHESTER                                                 UNDER 28 U.S.C. §1443(1)-FEDERAL
                                                            QUESTION & 28 U.S. Code§ 1455(a)


THE PEOPLE OF NEW YORK
                                                Plaintiff   Case Number:      14-100246
                   v.                                       HON. DELORES BRATHWAITE
MICHAEL MAROM.
                                            Defendant.


TO THE CLERK OF THE ABOVE-ENTITLED COURT:

 PLEASE TAKE NOTICE that defendant Michael Marom hereby removes to this Court the

 state court action described below. Pursuant to Rule 11 of the Federal Rules, I say as follows:


        (1) On Oct 1, 2014 an action was commenced in the Greenburgh Town of the State of

            New York in and for the County of Westchester entitled The People of New York, vs.

            Michael Marom, as case number 14-100246 attached hereto as Exhibit "A" and

            incorporated herein by ,reference.


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   (2) I want to exercise my right to a jury trial in this case.

   (3) I file this notice pursuant to ((28 U.S. Code§ 1455(a)). The alleged charge
        is violating order of protection against a neighbor.


   (4) This court has jurisdiction of this case because:
        [a] I was denied or cannot enforce in the court of such State a right under any law
              providing for the equal civil rights of citizens of the United States 28 U.S.C. §
              1443(1)
           [b] Under diversity jurisdiction.
           [c] Ex-Parte communications between the Town's actors and the court that will not
              allow partial Trial.
           [d] The Town's Court is driven by racial bias against caucus ion defendant.
           [e] Defendant's constitutional rights under the Fifth & Fourteen Amendments were
               violated.
           [f] It can be clearly predicted by reason of the operation of a pervasive and explicit
               state or federal law that those rights will inevitably be denied by the very act of
               bringing the defendant to trial in the state court.


     (5)      The complaint was filed on Oct 1, 2014 (3 years, 8 months ago).
           a. No procedures have occurred by the ADA or the court until May 23, 2018, where the
              court set first appearance day to June 29, 2018.
           b. My constitutional and state rights for speed trial were violated.
           c. My right for a statutory speedy trial was not waved.
           d. Meantime, I retired and moved to Apex, NC and my counsel also retired and moved
              to Florida.
        e. The new appointed counsel does not have any records for this case.
        f. the records from the lower court arevsubmitted accordingly to fulfill the statue.


     (6) I notified the Greenburgh, NY justice court that this case is being removed to this
        court.

     (7) The undersigned defendant is the only named defendant in the state court action
        referenced above in paragraph 1 of this notice.



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       (7) The undersigned defendant is the only named defendant in the state court action
          referenced above in paragraph 1 of this notice.



I have not included any non-public information in this document.

I declare under penalty of perjury that everything stated in this document is true.

              June 17, 2018            Sign   here~ ---1-(\~-~-~_,,_·
                                                              _________
Date                                                        lJ


                                         Defendant
                                                     - - - - - -Michael
                                                                 ---    Marom
                                                                          -------




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